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10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
                                   ******
12
      UNITED STATES OF AMERICA, )
13                                   )
14                   Plaintiff,      )
                                     )  CASE NO. 2:24-CR-00091-ODW
15
      v.                             )
16                                   )
17    ALEXANDER SMIRNOV,             )
18
                                     )
                     Defendant,      )
19
      _______________________________)
20

21                 DEFENDANT'S NOTICE OF FRAP 9(a) APPEAL

22
            Notice is hereby given that Alexander Smirnov, Defendant herein, pursuant to FRAP
23
      9(a) and 18 U.S.C. § 3145, hereby appeals to the United States Court of Appeals for the
24

25    Ninth Circuit from the District Court’s Order Denying Defendant’s Motion to Reopen
26
      Detention Hearing and to Modify Conditions of His Pretrial Release, which was entered
27

28
      June 25, 2024. See ECF No. 90.
                                             1
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1           There is no transcript associated with ECF No. 90, which was decided on the
2
      pleadings and which contains the District Court’s Statement of Reasons for Detention.
3

4     Appellant will provide the transcripts of prior hearings that are relevant to the issues with

5     the briefing of this appeal.
6
            DATED this 1st day of July, 2024.
7

8                                              Respectfully Submitted:
9
                                               CHESNOFF & SCHONFELD
10

11                                              /s/ David Z Chesnoff
12                                             DAVID Z. CHESNOFF, ESQ.
                                               Pro Hac Vice
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                                                 2
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1                              CERTIFICATE OF SERVICE
2
            I hereby certify that on this 1st day of July, 2024, I caused the forgoing
3

4     document to be filed electronically with the Clerk of the Court through the CM/ECF
5
      system for filing; and served on counsel of record via the Court's CM/ECF system
6

7
      including:

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1           A copy of the foregoing was also served via First Class U.S. Mail, postage
2
      prepaid, to the individuals listed above.
3

4                                                     /s/ Camie Linnell
                                                      Employee of Chesnoff & Schonfeld
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